      Case 4:22-cv-00396-WS-MAF Document 48 Filed 08/21/23 Page 1 of 13



                                                                  Page 1 of 13

          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


JUAN HERNANDEZ,

      Plaintiff,

vs.                                          Case No. 4:22cv396-WS-MAF

THE GEO GROUP, INC.,
FLORIDA DEPARTMENT OF
CORRECTIONS,
CENTURION, LLC,
and WELLPATH, LLC,

     Defendants.
____________________________/


                   REPORT AND RECOMMENDATION

      In November 2022, Defendants GEO Group and the Department of

Corrections removed this case from state court. ECF No. 1. Plaintiff filed a

first amended complaint on December 16, 2022. ECF No. 17. The

Department of Corrections filed a motion to dismiss on December 29,

2022. ECF No. 25. Plaintiff has filed a response in opposition, ECF No.

31, and the motion is ready for a ruling.
     Case 4:22-cv-00396-WS-MAF Document 48 Filed 08/21/23 Page 2 of 13



                                                                     Page 2 of 13

Amended Complaint

      Plaintiff is a state prisoner who was housed at the Graceville

Correctional Facility, and then Hamilton Correctional Institution, prior to

being transferred to other institutions. ECF No. 17 at 2. Plaintiff alleges

that he was unable to exhaust administrative remedies because officers at

Graceville never provided him with the necessary forms. Id. at 3.

However, Plaintiff says that he filed multiple grievances while at Hamilton

C.I. Id. at 4.

      In general, Plaintiff alleges that he was attacked by another inmate

and was struck on the back of the head. Id. at 5. He was taken to the

medical unit at the GEO facility which was operated by Wellpath, and then

transported to the emergency room at Jackson Memorial Hospital for

treatment. Id. Plaintiff contends he continued to experience pain, tinnitus,

and hearing loss after returning to the institution, but was not provided

appropriate or sufficient medical care. Id. at 6-7. The complaint alleges

that Plaintiff’s medical care was managed by Dr. Alvaraz, and because his

decisions were not reviewed, Plaintiff contends that Dr. Alvarez was the

“delegated final policymaker for GEO and Wellpath . . . .” Id. at 6.



Case No. 4:22cv396-WS-MAF
     Case 4:22-cv-00396-WS-MAF Document 48 Filed 08/21/23 Page 3 of 13



                                                                      Page 3 of 13

      Plaintiff was transferred to the Reception and Medical Center for

approximately two weeks before arriving at Hamilton Correctional

Institution. ECF No. 17 at 7. While in those prison facilities, Plaintiff’s

medical care was provided by Defendant Centurion. Id. He complained

about pain and a “constant ringing sound” in his left ear. Id. As his

symptoms worsened, he “began losing his hearing in his left ear,” as well

as his balance. Id. at 8. Plaintiff was dizzy, falling down, and had vertigo.

Id. For three or more years, he sought help and requested a hearing aid

and a cane. Id. It took nearly two years to receive a cane, but he still did

not receive a hearing aid. Id.

      Plaintiff alleges that medical staff did “not properly assess” his

injuries, and their decisions about treatment were not reviewed. Id. at 8-9.

In other words, Plaintiff contends that the medical decisions of nurses and

Dr. Naseri were not subject to meaningful review or supervision; thus, the

nurses were the “final policymakers regarding the medical care and

treatment that Plaintiff received.” Id. at 9. Plaintiff made repeated requests

for medical assistance but, ultimately, his condition could not be repaired

because too much time had passed since the injury. Id. at 11.



Case No. 4:22cv396-WS-MAF
     Case 4:22-cv-00396-WS-MAF Document 48 Filed 08/21/23 Page 4 of 13



                                                                       Page 4 of 13

      Plaintiff advises that although he was prescribed a hearing aid, it has

not been provided to him. ECF No. 17at 13. He contends that at Colombia

Correctional Institution, “non-hearing impaired inmates are selling hearing

aids in exchange for commissary but Plaintiff cannot obtain one of the

hearing aids because it would be considered contraband if he was not

prescribed it” and, further, he “cannot afford it.” Id. at 13. Plaintiff states

that he has “lost over 80 percent of his hearing in his left ear, continues to

experience sharp pains between his ear and head injury, has permanent

tinnitus, has panic attacks, and because his equilibrium is off as a result of

these ailments, he loses his balance easily and often falls.” Id.

      The amended complaint brings the following claims: (1) Count I is an

Eighth Amendment claim against Defendant Centurion; (2) Count II is a

negligence claim against Defendant GEO; (3) Count III is an ADA claim

against the Department of Corrections; (4) Count IV is an Eighth

Amendment claim against Defendant GEO; and (5) Count V is an Eighth

Amendment claim against Wellpath. Id. at 14-26. As relief, Plaintiff seeks

equitable relief, monetary damages, and a permanent injunction. Id. at 27.

      In response, the Florida Department of Corrections [“DOC] has raised

two arguments in the motion to dismiss. ECF No. 25. First, the DOC

Case No. 4:22cv396-WS-MAF
     Case 4:22-cv-00396-WS-MAF Document 48 Filed 08/21/23 Page 5 of 13



                                                                            Page 5 of 13

contends that Plaintiff has failed to state a claim under the ADA. Id. at 6-9.

Second, DOC argues that Plaintiff failed to exhaust administrative

remedies. Id. at 9-12.

Standard of Review

      The issue on whether a complaint should be dismissed pursuant to

Fed. R. Civ. P. 12(b)(6) for failing to state a claim upon which relief can be

granted is whether the plaintiff has alleged enough plausible facts to

support the claim stated. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127

S.Ct. 1955, 167 L. Ed. 2d 929 (2007). “To survive a motion to dismiss, a

complaint must contain sufficient factual matter, accepted as true, to ‘state

a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

662, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009) (quoting Twombly,

550 U.S. at 570, 127 S. Ct. 1955).1 “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Iqbal,

556 U.S. at 678, 129 S. Ct. at 1949 (citing Twombly, 550 U.S. at 556, 127

      1
         The complaint’s allegations must be accepted as true when ruling on a motion
to dismiss, Oladeinde v. City of Birmingham, 963 F.2d 1481, 1485 (11th Cir. 1992), cert.
denied, 113 S. Ct. 1586 (1993), and dismissal is not permissible because of “a judge's
disbelief of a complaint’s factual allegations.” Twombly, 127 S. Ct. at 1965, (quoting
Neitzke v. Williams, 490 U.S. 319, 327, 109 S. Ct. 1827, 104 L. Ed. 2d 338 (1989)).

Case No. 4:22cv396-WS-MAF
     Case 4:22-cv-00396-WS-MAF Document 48 Filed 08/21/23 Page 6 of 13



                                                                       Page 6 of 13

S. Ct. at 1965); see also Wilborn v. Jones, 761 F. App’x 908, 910 (11th Cir.

2019). “The plausibility standard” is not the same as a “probability

requirement,” and “asks for more than a sheer possibility that a defendant

has acted unlawfully.” Iqbal, 556 U.S. at 677 (quoting Twombly, 550 U.S.

at 556). A complaint that “pleads facts that are ‘merely consistent with’ a

defendant’s liability,” falls “short of the line between possibility and

plausibility.” Iqbal, 129 556 U.S. at 677 (quoting Twombly, 550 U.S. at

557). The pleading standard is not heightened, but flexible, in line with

Rule 8’s command to simply give fair notice to the defendant of the

plaintiff’s claim and the grounds upon which it rests. Swierkiewicz v.

Sorema, 534 U.S. 506, 122 S. Ct. 992, 998, 152 L. Ed. 2d 1 (2002) (“Rule

8(a)’s simplified pleading standard applies to all civil actions, with limited

exceptions.”).

      The issue of whether a prisoner failed “to properly exhaust available

administrative remedies under the PLRA should be treated as a matter in

abatement.” Bryant v. Rich, 530 F.3d 1368, 1374 (11th Cir. 2008) (cited in

Turner v. Burnside, 541 F.3d 1077, 1082 (11th Cir. 2008)). Such a

“defense is treated ‘like a defense for lack of jurisdiction,’ although it is not



Case No. 4:22cv396-WS-MAF
     Case 4:22-cv-00396-WS-MAF Document 48 Filed 08/21/23 Page 7 of 13



                                                                             Page 7 of 13

a jurisdictional matter.” Bryant, 530 F.3d at 1374 (cited in Turner, 541 F.3d

at 1082).

      Ruling on a “motion to dismiss for failure to exhaust administrative

remedies is a two-step process.” Turner, 541 F.3d at 1082 (citation

omitted). “First, the court looks to the factual allegations in the defendant's

motion to dismiss and those in the plaintiff's response, and if they conflict,

takes the plaintiff's version of the facts as true.” Id. “If, in that light, the

defendant is entitled to have the complaint dismissed for failure to exhaust

administrative remedies, it must be dismissed.” Id. (citing to Bryant, 530

F.3d at 1373-74). “If the complaint is not subject to dismissal at the first

step, where the plaintiff's allegations are assumed to be true, the court then

proceeds to make specific findings in order to resolve the disputed factual

issues related to exhaustion.” Turner, 541 F.3d at 1082 (citing Bryant, 530

F.3d at 1373–74, 1376).2 The burden of proof for evaluating an exhaustion

defense rests with the defendant. Jones v. Bock, 549 U.S. 199, 127 S. Ct.

910, 921, 166 L. Ed. 2d 798 (2007) (“We conclude that failure to exhaust is


      2
        “Where exhaustion . . . is treated as a matter in abatement and not an
adjudication on the merits, it is proper for a judge to consider facts outside of the
pleadings and to resolve factual disputes so long as the factual disputes do not decide
the merits and the parties have sufficient opportunity to develop a record.” Bryant, 530
F.3d at 1376.

Case No. 4:22cv396-WS-MAF
     Case 4:22-cv-00396-WS-MAF Document 48 Filed 08/21/23 Page 8 of 13



                                                                       Page 8 of 13

an affirmative defense under the PLRA, and that inmates are not required

to specially plead or demonstrate exhaustion in their complaints.”); Turner,

541 F.3d at 1082-83.

Exhaustion

      When the Prison Litigation Reform Act was enacted, Congress

mandated that “[n]o action shall be brought with respect to prison

conditions under section 1983 of this title, or any other Federal law, by a

prisoner confined in any jail, prison, or other correctional facility until such

administrative remedies as are available are exhausted.” 42 U.S.C. §

1997e(a). The exhaustion requirement of § 1997e(a) is mandatory.

Alexander v. Hawk, 159 F.3d 1321, 1324-26 (11th Cir. 1998). The Court

lacks discretion to waive the requirement or provide a continuance of the

litigation if a prisoner did not exhaust a claim prior to filing. Alexander, 159

F.3d at 1325; see also Porter v. Nussle, 534 U.S. 516, 122 S. Ct. 983, 152

L. Ed. 2d 12 (2002) (holding that “the PLRA’s exhaustion requirement

applies to all inmate suits about prison life, whether they involve general

circumstances or particular episodes, and whether they allege excessive

force or some other wrong”). “Requiring exhaustion allows prison officials

an opportunity to resolve disputes concerning the exercise of their

Case No. 4:22cv396-WS-MAF
     Case 4:22-cv-00396-WS-MAF Document 48 Filed 08/21/23 Page 9 of 13



                                                                     Page 9 of 13

responsibilities before being haled into court.” Jones, 549 U.S. at 204-209,

127 S. Ct. at 914.

      A prisoner must also comply with the process set forth and

established by the grievance procedures. Miller v. Tanner, 196 F.3d 1190,

1193 (11th Cir. 1999). In other words, not only must a prisoner exhaust a

claim under § 1997e(a), the “PLRA exhaustion requirement requires proper

exhaustion.” Woodford v. Ngo, 548 U.S. 81, 93, 126 S.Ct. 2378, 2387

(2006) (concluding that “proper exhaustion” means complying with the

specific prison grievance requirements, not judicially imposed

requirements). A prisoner must comply with rules which “are defined not

by the PLRA, but by the prison grievance process itself.” Jones, 549 U.S.

at 218, 127 S. Ct. at 922.

      The specific argument raised here by the DOC is that although

Plaintiff submitted an appeal to the Secretary’s Office concerning the failure

to provide him with a hearing aid, Plaintiff did not first submit his grievance

at the institutional level. ECF No. 25 at 10. Defendant states that Plaintiff

did not file a formal grievance before submitting the grievance appeal and,

thus, it was returned without action for failure to comply with the grievance



Case No. 4:22cv396-WS-MAF
     Case 4:22-cv-00396-WS-MAF Document 48 Filed 08/21/23 Page 10 of 13



                                                                           Page 10 of 13

rules. Id. at 11. Plaintiff had an opportunity to cure the deficiency, but

“failed to do so.” Id.

      The DOC submitted the declaration of Jacqueline Adams to support

its argument that Plaintiff did not exhaust available administrative remedies

as required by 42 U.S.C. § 1997e(a). Adams states that Plaintiff filed an

appeal of a grievance3 concerning the medical treatment he received, but

the appeal was returned without action because Plaintiff did not first file a

formal grievance at the institutional level, or the reason “provided for by-

passing that level of the grievance procedure is not acceptable.” 4 Id. at 15.

      In response, Plaintiff states that beyond submitting the October 2019

grievance appeal, Plaintiff “complained numerous other times as detailed in

paragraph 31 of” his amended complaint. ECF No. 31 at 11. Further,

Plaintiff argues that Defendant has not proved that “they made their

grievance procedures available and known to persons such as Plaintiff in

an understandable fashion.” Id.


      3
        Plaintiff signed the grievance on October 20, 2019, and it was stamped
“received” in the Secretary’s Office for reviewing grievance appeals on November 1,
2019. ECF No. 25 at 17.
      4
         Review of Plaintiff’s appeal reveals that he never addressed the fact that he
was skipping the informal or formal grievance level of the grievance process, and he did
not attach a copy of any prior grievances to his appeal.

Case No. 4:22cv396-WS-MAF
    Case 4:22-cv-00396-WS-MAF Document 48 Filed 08/21/23 Page 11 of 13



                                                                       Page 11 of 13

      The Rules of the DOC - Chapter 33-103 - require inmates to file

grievances of incidents “that affect them personally.” FLA. ADMIN. CODE R.

33-103.001(4)(d). Inmates are provided training during “Inmate

Orientation” and must “sign a statement acknowledging receipt of training

on the inmate grievance procedure.” FLA. ADMIN. CODE R. 33-103.003(2).

In general, the grievance procedure is a 3-step process - inmates must file

an informal grievance, followed by a formal grievance, and then an appeal

to the Office of the Secretary. FLA. ADMIN. CODE R. 33-103.005 - 33-

103.007.

      In limited circumstances not relevant here, an inmate may also file a

“direct” grievance to the Secretary in certain “emergency” situations,

reprisals, and other instances as specified. FLA. ADMIN. CODE R. 33-

103.007(3). However, an “inmate must clearly state the reason for not

initially bringing the complaint to the attention of institutional staff and

by-passing the informal and formal grievance steps of the institution or

facility, except in the case of a HIPAA violation grievance which must be

filed directly with the Office of the Secretary.” FLA. ADMIN. CODE R. 33-

103.007(3)(a)2.



Case No. 4:22cv396-WS-MAF
    Case 4:22-cv-00396-WS-MAF Document 48 Filed 08/21/23 Page 12 of 13



                                                                   Page 12 of 13

      Plaintiff’s amended complaint alleged that Plaintiff had “submitted in

excess of thirty inmate and sick call requests . . . .” ECF No. 17 at 9, ¶ 31.

The Rules provide that inmates receive training in the grievance process,

and Plaintiff’s amended complaint reveals that he knew how to access the

grievance procedures since he filed multiple grievances. Even when his

attempted grievance appeal was rejected, the reason for the rejection was

explained. ECF No. 25 at 19. Plaintiff was given 15 additional days to

resubmit his grievance, but he did not do so. Id. There is no evidence to

suggest that Plaintiff was unaware of how to file grievances. His own

allegations demonstrate that he filed multiple grievances. Instead, the

DOC’s evidence shows that Plaintiff’s grievance appeal was not submitted

in accordance with the grievance process rules and, therefore, Plaintiff did

not properly exhaust his administrative remedies. The motion to dismiss

should be granted.

      Because it is concluded that Plaintiff did not comply with grievance

procedures, there is no need to consider the DOC’s argument that Plaintiff

failed to state an ADA claim.




Case No. 4:22cv396-WS-MAF
    Case 4:22-cv-00396-WS-MAF Document 48 Filed 08/21/23 Page 13 of 13



                                                                Page 13 of 13

                            RECOMMENDATION

      It is respectfully RECOMMENDED that the motion to dismiss filed by

the Florida Department of Corrections, ECF No. 25, be GRANTED.

Plaintiff’s amended complaint, ECF No. 17, should be DISMISSED as to

that Defendant for failure to exhaust administrative remedies pursuant to

42 U.S.C. § 1997(e).

      IN CHAMBERS at Tallahassee, Florida, on August 21, 2023.


                                 S/   Martin A. Fitzpatrick
                                 MARTIN A. FITZPATRICK
                                 UNITED STATES MAGISTRATE JUDGE



                        NOTICE TO THE PARTIES

      Within fourteen (14) days after being served with a copy of this
Report and Recommendation, a party may serve and file specific written
objections to these proposed findings and recommendations. Fed. R.
Civ. P. 72(b)(2). A copy of the objections shall be served upon all other
parties. A party may respond to another party’s objections within
fourteen (14) days after being served with a copy thereof. Fed. R. Civ.
P. 72(b)(2). Any different deadline that may appear on the electronic
docket is for the Court’s internal use only and does not control. If a
party fails to object to the Magistrate Judge’s findings or
recommendations as to any particular claim or issue contained in this
Report and Recommendation, that party waives the right to challenge on
appeal the District Court’s order based on the unobjected-to factual and
legal conclusions. See 11th Cir. Rule 3-1; 28 U.S.C. § 636.

Case No. 4:22cv396-WS-MAF
